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                      IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF

UNITED STATES OF AMERICA,                  )      8:05CR390
                                           )
                    Plaintiff,             )
                                           )
                    vs.                    )      AMENDED ORDER
                                           )
CAMERON TRAVUS FORD,                       )
                                           )
                    Defendant.             )

      This matter comes before the Court upon the United States’ Application for Writ of Habeas

Corpus Ad Prosequendum. (Filing No. 5 ).

      IT IS ORDERED that the motion (#5) be granted a Writ of Habeas Corpus Ad

Prosequendum be issued.

      DATED this 22nd day of February, 2006.

                                           BY THE COURT:


                                           S/F. A. GOSSETT
                                           United States Magistrate Judge
